  8:08-cr-00038-JFB-TDT       Doc # 18      Filed: 03/11/08   Page 1 of 1 - Page ID # 27




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )                CASE NO. 8:08CR38
                                             )
                               Plaintiff,    )
                                             )
       -vs-                                  )                     ORDER
                                             )
BRUCE VALENTINE,                             )
                                             )
                            Defendant.       )


       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize David J. Tarrell, as a Criminal Justice Act Training Panel

Member, to assist in the defense of Bruce Valentine.

       Accordingly, pursuant to the terms of Appendix I, Part I(C) of the Amended Criminal

Justice Act Plan for the District of Nebraska, David J. Tarrell is hereby assigned to assist

the Federal Public Defender in the representation of the Defendant in the above-captioned

case, and must file an entry of appearance forthwith. David J. Tarrell shall not be eligible

to receive compensation for services in this case.

       The Federal Public Defender shall continue to be primary counsel on behalf of the

Defendant, Bruce Valentine.

       Dated: March 11, 2008

                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
